






NO. 07-06-0457-CR


					       07-06-0458-CR

					       07-06-0459-CR


IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JANUARY 24, 2007


	______________________________



DUSTIN LEE ALLEN, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 320TH DISTRICT COURT OF POTTER COUNTY;



NO. 49,984-D, 49,985-D, 53,537-D; HONORABLE DON R. EMERSON, JUDGE


_______________________________




Before CAMPBELL and HANCOCK and PIRTLE, JJ.

ON ABATEMENT AND REMAND


	Appellant, Dustin Lee Allen, seeks appeal of his conviction in three cases.  We
abate and remand for further proceedings.

	In each case, appellant's notice of appeal was presented to the trial court and
signed by appellant's attorney, Timothy Pirtle.  Since that time, our court has had no further
communication from appellant.  Appellant has failed to file an adequate docketing
statement as required under Rule 32.2 of the Texas Rules of Appellate Procedure. 
Further, the trial clerk's office and the court reporter have both requested extensions of
time for filing of their respective records citing appellant's failure to make a request for the
record or payment arrangements. (1)  See Tex. R. App. P. 34.5(b)(2), 34.6(b)(1), 35.3.

	We now abate this cause and remand it to the 320th District Court of Potter County. 
It is ordered that the judge of said court convene a hearing, after due notice to all parties,
to determine: 

	1)    whether appellant desires to prosecute this appeal; 

	2)    whether appellant continues to be represented by Timothy Pirtle or whether
counsel for appellant has abandoned the appeal;  				

	3)    if appellant is not represented by counsel, whether appellant is indigent and,
therefore, is entitled to appointed counsel and a record of the trial court proceedings free
of charge.

	We further direct the trial court to issue findings of fact and conclusions of law
addressing the foregoing subjects.  Should the trial court find that appellant desires to
pursue his appeal, is not represented by counsel and is indigent, we then further direct the
court to 1) appoint counsel to assist in the prosecution of the appeal, and 2)  issue an order
requiring the preparation of a clerk's record in accordance with Rule 34.5 of the Texas
Rules of Appellate Procedure.  The name, address, phone number, fax number, and state
bar number of any counsel who is appointed to represent appellant on appeal must also
be included in the court's findings of fact and conclusions of law.  Furthermore, the trial
court shall also cause to be developed 1) a supplemental clerk's record containing the
findings of fact and conclusions of law and all orders of the trial court issued as a result of
its hearing on this matter and 2) a reporter's record transcribing the evidence and
arguments presented at the aforementioned hearing.  Additionally, the trial court shall
cause the supplemental records to be filed with the clerk of this court on or before February
26, 2007.  Should additional time be needed to perform these tasks, the trial court may
request same on or before February 26, 2007.

	It is so ordered. 


							Per Curiam

1.  The court reporter has graciously offered to prepare the reporter's record upon a
request from this Court.  Without knowing whether appellant wishes to continue his appeal,
we must decline the reporter's invitation.

	Appellant complains that his counsel was deficient in failing to request a
competency examination.  This allegedly should have been done because Grow testified
that while she was riding with appellant he "kept saying stuff that wasn't making any
sense."  In further explanation, she stated that "he kept telling me about how the
government or the IRS owed him millions of dollars, [and] how he was a millionaire"
because he was suing them for back taxes.   

	A person is incompetent to stand trial if he does not have "(1) sufficient present
ability to consult with the person's lawyer with a reasonable degree of rational
understanding[,] or (2) a rational as well as factual understanding of the proceedings
against [him]."  Tex. Code Crim. Proc. Ann. art. 46.02 §1A (a) (Vernon Supp. 2004).  The
issue of competency relates to a person's actions at the time of trial, not at the time of the
offense.  Rodriguez v. State, 899 S.W.2d 658, 665 (Tex. Crim. App. 1995), cert. denied,
516 U.S. 946, 116 S.Ct. 385, 133 L.Ed.2d 307 (1995).  So, what appellant may have said
while assaulting his victim alone did not impose upon his counsel the obligation to assess
his competency a year later.  At the very least, and given the sparse evidence to which
appellant refers, we cannot say that appellant carried his burden to establish that his
counsel acted unreasonably in this instance. 

	Further, even if we were to assume that the statements presented do reflect on
appellant's competency to stand trial, nothing in the record indicates the reasoning behind
counsel's failure to pursue a competency hearing or an insanity defense, and therefore he
has not overcome the presumption that his counsel acted reasonably.  Tong v. State, 25
S.W.3d 707, 714 (Tex. Crim. App. 2000), cert. denied, 532 U.S. 1053, 121 S.Ct. 2196, 149
L.Ed.2d 1027 (2001); see Rodriguez v. State, supra (holding that counsel was not
ineffective in failing to obtain a competency evaluation when the defendant pled the
insanity defense to a murder charge because counsel may well have believed that
defendant was competent to stand trial but was legally insane at the time of the offense);
Huseman v. State, 96 S.W.3d 368, 375 (Tex. App.--Amarillo 2002, pet. ref'd) (holding it
was reasonable to conclude that when counsel filed a motion for examination by a
psychiatrist and appointment of a mental health expert but later withdrew them that he
determined that they would not be helpful to the defendant); Ryan v. State, 937 S.W.2d
93, 104 (Tex. App.--Beaumont 1996, pet. ref'd) (holding that nothing in the record shows
why counsel did not follow up on his motion for psychological evaluation and thus counsel
could have concluded that the defendant was competent to stand trial).  

			Failure to Request Appointment of Expert Witness

	Appellant contends that his counsel was ineffective because he failed to request an
expert witness to testify with respect to eyewitness identification.  He argues that the only
evidence linking him with the offense was the eyewitness identification by the victim and
because there was alibi testimony provided by him, counsel should have engaged the
services of an expert witness.      

	The general rule is that the failure to call witnesses does not constitute ineffective
assistance of counsel without a showing that the witnesses were available to testify and
that their testimony would have benefitted the defendant.   Butler v. State, 716 S.W.2d 48,
55 (Tex. Crim. App. 1986); Johnston v. State, 959 S.W.2d 230, 236 (Tex. App.--Dallas
1997, no pet.).  Further, the failure to request the appointment of an expert witness is not
ineffective assistance in the absence of a showing that the expert would have testified in
a manner that benefitted the defendant.  Teixeira v. State, 89 S.W.3d 190, 194 (Tex. App.
--Texarkana 2002, pet. ref'd).  Nothing in this record shows that an expert witness had
been contacted and was willing to testify or what his testimony would have been with
respect to misidentification.   Therefore, based on the record before us, we cannot say that
counsel's performance was deficient.  

			Failure to Request a Limiting Instruction

	Appellant complains that his counsel failed to request a limiting instruction with
respect to the use of extraneous offenses at the punishment phase of trial.  He claims that 
because it is error for the court to refuse such a request if made and because he is
precluded from challenging on appeal the trial court's decision to admit such offenses
without limitation in the absence of such an instruction, he was denied effective assistance. 
We disagree for several reasons.

	First, appellant neglects to inform us of the nature of the limiting instruction his trial
counsel was supposed to request.  We are left to guess at it.

	Second, evidence of extraneous offenses admitted during the punishment phase
of the trial can be considered by the factfinder "however it chooses in assessing
punishment."  Fields v. State, 1 S.W.3d 687, 688 (Tex. Crim. App. 1999).  If the evidence
can be considered in whatever way the jury chooses when assessing punishment, trial
counsel could not legitimately request the court to restrict the manner in which the jury
could use the evidence.  Thus, foregoing such a request was not unreasonable conduct
for counsel.  See Autry v. State, 27 S.W.3d 177, 181 (Tex. App.--San Antonio 2000, pet.
ref'd) (holding that counsel cannot be regarded as having erred in failing to present an
instruction to which he was not entitled).

			Failure to Request Instruction Under Article 38.23

	Appellant argues that he was denied effective assistance of counsel by his
counsel's failure to request an instruction under article 38.23 of the Code of Criminal
Procedure with respect to an extraneous drug offense.  Article 38.23 provides that no
evidence obtained in violation of state or federal laws or constitutions may be admitted into
evidence against an accused at the trial of any criminal case.  Tex. Code Crim. Proc. Ann.
art. 38.23(a) (Vernon Supp. 2004).  During the punishment phase of trial, evidence was
admitted as to methamphetamine found in appellant's vehicle after he was stopped by
police with respect to a complaint of a vehicle matching that of appellant driving slowly in
the neighborhood and following a girl home from school.  Appellant contends that because
factual issues were raised as to whether the warrantless stop was legal, counsel should
either have requested such an instruction or objected that the charge did not contain one.

	Appellant contends that there was a dispute as to whether the stop was legal
because there was no posted speed limit, appellant's car was not blocking traffic, and he
was violating no law.  Yet, he does not dispute or question that evidence upon which the
officer relied in making the stop.  That is, he does not contest the existence or nature of
the evidence underlying the officer's decision to stop him, merely whether the
circumstances as they existed authorized the stop.  Given this, he was not entitled to the
instruction requested.  This is so because art. 38.32 requires the trial court to provide the
instruction only where the underlying facts are disputed, not where the facts are
undisputed but their effect is.  Pierce v. State, 32 S.W.3d 247, 251-52 (Tex. Crim. App.
2000).  And, if there is no right to the instruction, counsel cannot be ineffective for failing
to request one.  Hardin v. State, 951 S.W.2d 208, 211 (Tex. App.--Houston [14th Dist.]
1997, no pet.) (holding that the evidence contained no conflict regarding the manner in
which the cocaine was obtained).

			Issue Two - Legal and Factual Sufficiency

	In his second issue, appellant challenges the legal and factual sufficiency of the
evidence establishing him as the person who committed the offense.  Thus, the issue
involves his identification as the rapist, and we overrule it.

	The standards of review applicable to a determination whether the evidence is
legally and factually sufficient to support a conviction are well-settled.  We refer the parties
to Jackson v. Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979), Sims v.
State, 99 S.W.3d 600, 601 (Tex. Crim. App. 2003), Zuliani v. State, 97 S.W.3d 589, 593-94
(Tex. Crim. App. 2003), and King v. State, 29 S.W.3d 556, 562-63 (Tex. Crim. App. 2000)
for their explanation.  

	Again, appellant asserts the evidence is insufficient because his conviction is based
solely on the identification of him by the victim which was tainted by showing her three
different photo spreads in which the only common photo was that of appellant.  Further, 
two witnesses provided alibis for him.  Appellant has not challenged the admissibility of his
identification by the victim, and we will therefore address that matter only as it relates to
the weight of the evidence.  See Bledsoe v. State, 21 S.W.3d 615, 621 (Tex. App.--Tyler
2000, no pet.) (holding that because the defendant did not file a motion to suppress the
in- court identification or object to it at trial, the court would consider the matter for a factual
sufficiency review).  The positive identification of a defendant as the perpetrator is
sufficient to support a conviction.  Garcia v. State, 563 S.W.2d 925, 928 (Tex. Crim. App.
1978), Lopez v. State, 815 S.W.2d 846, 849 (Tex. App.--Corpus Christi 1991, no pet.). 
Also, Grow was with appellant for some length of time and had ample opportunity to look
at him.  She was able to describe him to police and picked him out of the first photo spread
that she was shown.  She was then shown two more photo spreads one after the other and
both times she picked out appellant.  She also stated at trial that she was "absolutely
certain" that appellant was the man who raped her.  To the extent that any testimony from
the victim that it was getting dark at the time of the rape, that she tried not to look at the
man, and that she could have been mistaken about the color of his eyes may have
presented conflicts in the evidence, those conflicts were for the jury to resolve.  Rodgers
v. State, 827 S.W.2d 376, 378 (Tex. App.--Corpus Christi 1992, no pet.) (holding that
discrepancies in the evidence were merely factors for the jury to consider in assessing the
weight of the witness's testimony with respect to identification).

	Admittedly, there was testimony from appellant's boss that appellant had worked
until between 5:00 and 6:00 p.m. on the day of the assault.  However, that testimony does
not  provide an alibi for appellant because the victim testified that she was approached by
appellant in the shopping mall parking lot around 6:30 or 7:00 p.m.  And, to the extent that 
appellant's mother stated her son returned to her house around 6:00 p.m. that evening and
did not leave thereafter, the jury was free to believe or disbelieve that alibi evidence. 
Vasquez v. State, 67 S.W.3d 229, 237 (Tex. Crim. App. 2002); Ford v. State, 509 S.W.2d
317, 318 (Tex. Crim. App. 1974).  Thus, based on the victim's identification, a rational jury
could conclude beyond a reasonable doubt that appellant was the perpetrator and that
conclusion is neither manifestly unjust nor against the great weight of the evidence of
record.

Issue Three - Admission of Extraneous Offenses


	Via his third issue, appellant complains of the admission during the punishment
phase of his trial of the following offenses or bad acts: indecency of a child by exposure,
two additional indecent exposure offenses, following a female home, possession of a
controlled substance, attempted burglary and aggravated assault, and an extraneous
offense justifying the revocation of his probation.  We overrule the issue. 

				Indecency with a Child by Exposure

	Appellant complains of the admission of the offense of indecency with a child by
exposure because of its violation of the notice requirements of article 37.07 §3(g) of the
Code of Criminal Procedure.  The State gave notice of its intent to introduce evidence that
"on or about May 6, 2000, the defendant committed the offense of Indecency With a Child
by Exposure, in Lubbock County, Texas[,] the victims being Richard Humbles and Tiffany
Humbles."  However, appellant argues that the testimony shows the event occurred on
May 14, 2000, and, thus, insufficient notice was given. 

	Upon timely request by the accused, reasonable notice must be given in advance
of trial of the intent to introduce evidence of other crimes or bad acts.  Tex. R. Evid. 404(b).
If the crime or bad act has not resulted in a final conviction or a probated or suspended
sentence, notice of the intent to introduce evidence of such crime or bad act is reasonable
only if the notice includes the date on which and the county in which the alleged crime or
bad act occurred and the name of the alleged victim of the crime or bad act.  Tex. Code
Crim. Proc. Ann. art. 37.07 §3(g) (Vernon Supp. 2004).  	

	We review the trial court's admission of extraneous offense evidence under an
abuse of discretion standard.  Mitchell v. State, 931 S.W.2d 950, 953 (Tex. Crim. App.
1996).  It has been held by other courts that the failure to state the exact date of the
offense is not necessarily fatal to the admission of the bad act or offense.  See Burling v.
State, 83 S.W.3d 199, 203 (Tex. App.--Fort Worth 2002, pet. ref'd) (holding that a period
of six weeks when no claim of surprise was raised is a time range that is reasonable);
Splawn v. State, 949 S.W.2d 867, 870-71 (Tex. App.--Dallas 1997, no pet.) (holding that
listing of a range of months in which the bad act occurred complied with the notice
requirements). 

	In this instance, there was only a variance of eight days between the date given in
the notice and the date testified to at trial.  Further, the State represented on the record
without contradiction that appellant had a copy of the indictment which showed the correct
date of May 14, 2000.  Thus, the trial court did not abuse its discretion in overruling
appellant's objection to the admission of the offense.

					Indecent Exposure

	With respect to another incident of indecent exposure that occurred on March 31,
1997, in Crosby County, appellant now argues that the State failed to provide notice of the
name of the victim, failed to prove beyond a reasonable doubt that the offense occurred
in Crosby County, and failed to prove the requisite intent.  However, at trial, appellant 
objected solely on the basis that the name of the victim was not provided.  The State is 
required to give the name of the victim only when there is no final conviction.  Tex. Code
Crim. Proc. Ann. art. 37.07 §3(g) (Vernon Supp. 2004).  And, such a final conviction
existed here, as illustrated by the judgment entered into evidence manifesting it.  

	Finally, since the other grounds for objection to the evidence were not raised below,
they were waived.  Accordingly, there was no error in the admission of this evidence.    

 				Following a Female Home

	Appellant challenges the admission of the extraneous offense that "on or about
January 29, 2001, the defendant was reported as a 'suspicious person' for following a
female home, in Lubbock County, Texas[,] the victim being Sara Barker."  In doing so, he
contends that the date is incorrect and that the testimony provided is no evidence of any
bad act or crime under Texas law.  

	The witness testified that the event occurred on January 31, 2001, that is, only two
days later then the date alleged in the notice.  Furthermore, appellant does not contend
that this slight discrepancy in dates surprised him or in any way hindered him from
addressing or negating the probative effect of the evidence.  Thus, as previously
discussed, the notice was reasonable.  

	As to whether the conduct constituted a bad act and was therefore admissible, (3)
appellant made no objection to the evidence on that ground at trial.  Therefore, the ground
was waived. Tex. R. App. P. 33.1(a)(1) (requiring as a prerequisite to presenting a
complaint for appellate review that the complaint be made to the trial court by a timely
request, objection, or motion).      

					Indecent Exposure

	With respect to another act of indecent exposure occurring on or about January 31,
2001, appellant complains that the State failed to prove beyond a reasonable doubt that
he exposed his genitals to Rocky Smith (Smith) or that he did so with intent to arouse or
gratify the sexual desire of any person.  We disagree.  

	Smith testified that he was visiting his 86-year-old grandmother at her home in the
country when he noticed a pickup truck parked in the driveway.  He walked to the
passenger side to see if he could help the person and noticed that appellant wore no
clothes from the waist down.  Appellant then grabbed his pants, covered himself up, and
said he "was looking for some pussy."  Smith told him to leave which appellant did.  

	 A person commits the offense of indecent exposure if he exposes his anus or any
part of his genitals with intent to arouse or gratify the sexual desire of any person and he
is reckless about whether another is present who will be offended or alarmed by the act. 
Tex. Pen. Code Ann. §21.08(a) (Vernon 2003).  There does not have to be evidence that
Smith actually saw appellant's penis, only that his genitals were exposed.  Metts v. State,
22 S.W.3d 544, 547-48 (Tex. App.--Fort Worth 2000, pet. ref'd).  Furthermore, evidence
that the accused was naked from the waist down is sufficient to illustrate exposure.  Id. 
Moreover, in this instance, Smith testified that appellant was naked from the waist down
and did not cover himself until after Smith had made that observation.  Thus, even though
Smith did not actually testify that he saw appellant's genitals, it can reasonably be inferred
not only that appellant was naked, but also that his genitals were exposed when Smith
encountered him. 

	Further, the intent to arouse or gratify can be inferred from the conduct of, remarks
by, and circumstances surrounding the acts.  Martins v. State, 52 S.W.3d 459, 474 (Tex.
App.--Corpus Christi 2001, no pet.).  Appellant was sitting in his truck blocking a driveway, 
was naked from the waist down, and indicated that he wanted a woman or "some pussy." 
That evidence is sufficient to prove his intent.  See Claycomb v. State, 988 S.W.2d 922,
926  (Tex. App.--Texarkana 1999, pet. ref'd) ( finding the evidence sufficient to show intent
when a man on a bench in a public place exposed his penis, made eye contact with a
woman and her daughter who walked by, made no effort to cover himself, and his penis
was erect); Barker v. State, 931 S.W.2d 344, 347 (Tex. App.--Fort Worth 1996, pet. ref'd)
(finding the evidence sufficient to show intent when the defendant pulled out his penis as
two girls walked by and glanced in his truck).  From appellant's remarks and the
circumstances surrounding them, one could rationally infer, beyond reasonable doubt, that
appellant acted with the intent to arouse or gratify the sexual desires of a person, namely
himself.  So, the trial court did not abuse its discretion in admitting the evidence. 

 				Possession of a Controlled Substance

	Appellant complains of the admission into evidence of his possession of a controlled
substance after he was illegally stopped by police when there was no probable cause for
the stop or any specific articulable facts allowing the stop.  

	 Officer Allen Davis testified outside the presence of the jury that he responded to
a radio call on January 20, 2001, at about 7:00 p.m. in reference to a suspicious vehicle
following a girl.  The reporting party lived at 1905 55th Street.  He spoke to the complaining
party and was given a description of the vehicle as a two-ton tan Ford diesel pickup truck
and a license plate number.  Earlier in the day, Davis had taken a call with the same
vehicle description and license number in reference to someone following a little girl from
Atkins Junior High School to her house.  Shortly thereafter, he learned that, at his request,
Officer Scott had stopped that vehicle in the 2000 block of 54th Street.  As Officer Scott was
talking to appellant, Davis approached the vehicle and through the window of the driver's
side saw a syringe, syringe cap, and a plastic bag with a powdery substance in it on the
floorboard.  The powdery substance was later determined to be methamphetamine.

	Appellant contends that because he was not violating any law, there were no
specific articulable facts that would justify an investigatory stop.  However, circumstances
raising the suspicion of illegal activity do not have to be criminal in and of themselves. 
Crockett v. State, 803 S.W.2d 308, 311 (Tex. Crim. App. 1991).  Suspicious conduct is by
its nature ambiguous and the purpose of an investigative stop is to resolve that ambiguity. 
Worley v. State, 912 S.W.2d 869, 874 (Tex. App.--Fort Worth 1995, pet. ref'd).  Further,
the police do not have to rule out every innocent explanation for suspicious behavior to
justify such a stop.  United States v. Kaplansky, 42 F.3d 320, 327 (6th Cir. 1994).  In
Kaplansky, a woman reported to police that a suspicious blue van was present in her
apartment parking lot, that he was "watching," that he kept "coming around," and that he
had followed her 14-year-old daughter a couple of times.  The man was described as white
with a ponytail and a beard.  Police officers responding to a radio dispatch saw a van in
the lot matching the description given to them and stopped the vehicle.  The court
concluded that the stop was justified by reasonable suspicion.  Id.   

	Similarly, we conclude that the officer was justified in stopping appellant based on
two complaints made to the police on the same day of a vehicle matching  the license plate
and description of appellant's vehicle driving slowly in the neighborhood and following
young girls.  The drugs and drug paraphernalia were observed in plain view after the stop;
so, the trial court did not err in admitting evidence of them.  See Walter v. State, 28 S.W.3d
538, 544 (Tex. Crim. App. 2000) (holding there is no privacy interest in the interior of a
vehicle when the officer has a right to be where he is and merely looks into the vehicle). 
     	   		Attempted Burglary and Aggravated Assault

	Appellant next complains of the admission into evidence of an attempted burglary
committed on Tammy and Tom Esparza on August 4, 2001, and an aggravated assault
committed on Tom Esparza on August 4, 2001, because they were not proved beyond a
reasonable doubt.  Appellant made no objection to the testimony of Esparza, either at the
hearing held outside the presence of the jury or during trial.  Thus, he waived the
complaint.  Black v. State, 938 S.W.2d 758, 760 (Tex. App.--Amarillo 1997, no pet.);
Robbins v. State, 856 S.W.2d 249, 253-54 (Tex. App.--Beaumont 1993, no pet.).

					Probation Revocation 

	Finally, appellant contends the jury was erroneously presented details of the
reasons for the revocation of his probation when the State introduced documentary
evidence of his deferred adjudication and subsequent conviction for public lewdness.  At
trial, he objected to the introduction of the exhibit which consisted of the order deferring
adjudication, order revoking probation, judgment, and sentence on the basis that the order
revoking probation referred to bad acts for which he was not given notice.  That objection
does not comport with the objection on appeal, and it is therefore waived. Brown v. State,
6 S.W.3d 571, 582 (Tex. App.--Tyler 1999, pet. ref'd).   

		Issue Four - Charge on Elements of Extraneous Offenses

	In his last issue, appellant claims he was constitutionally and statutorily entitled to
have the jury instructed as to the elements of each extraneous offense admitted into 
evidence at the punishment phase.  We overrule the issue.

	As previously stated, article 37.07 §3(a) of the Texas Code of Criminal Procedure
permits the admission, during the punishment phase, of evidence the court deems
relevant.  Tex. Code Crim. Proc. Ann.  art. 37.07 §3(a)(1) (Vernon Supp. 2004).  Included
within the scope of the statute is extraneous evidence of crimes and bad acts "that is
shown beyond reasonable doubt by evidence to have been committed by the defendant
. . . ."  Id.  We are asked to read this provision as requiring that the jury be instructed about
the elements of the offense.  Without such an instruction, the argument goes, it cannot
assess whether appellant committed extraneous offenses or bad acts beyond reasonable
doubt.  This contention could have some merit if the jury were to make the determination
of whether a criminal or bad act was committed.  Yet, it does not.  The trial court does. 
Malpica v. State, 108 S.W.3d 374, 377 (Tex. App.--Tyler 2003, no pet.).  The duty of the
factfinder is to determine whether those bad acts were committed by the defendant.  See
Fields v. State, 1 S.W.3d at 688 (holding that the statute requires that the evidence may
not be considered in assessing punishment until the factfinder is satisfied beyond
reasonable doubt that these acts "are attributable to the defendant"); Malpica v. State, 108
S.W.3d at 377 (stating that if the evidence is admitted, the jury must be instructed that it
should not consider the extraneous offenses unless it believes beyond reasonable doubt
that the "accused was the perpetrator").  Thus, there was no need for the trial court to
instruct the jury about the elements of the extraneous offenses since the jury does not
determine whether they occurred, only whether appellant was the perpetrator.       

	Having overruled all the points of error, we affirm the judgment of the trial court.


							Per Curiam


Publish.


		        
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment.  Tex. Gov't
Code Ann. §75.002(a)(1) (Vernon Supp. 2004).  
2.  A motion for new trial was filed but it was not based on a claim of ineffective assistance of counsel. 
 
3.  The witness testified that she drove into her driveway, looked up, and noticed that a pickup truck
had pulled into her driveway behind her.  She got out of her vehicle and went to see what the person wanted. 
Appellant told her that she did not know him but that he would like to get to know her.  He also asked if he
could come in her house.  She replied "no" and quickly got back in her vehicle and locked the doors.      


